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UN ITED STA TES OF AM ER ICA
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                                                A11in violation of:
JERM EL ANTHON Y COLEM AN
                                                       Title21U.S.C.jj841(a)(1),
                                                             (b)(1)(B)and846

                                   IN D IC T M E N T

                                      C O UN T O N E



The Grand Jury charges that:

       From in orabout2009 and continuinguntilApril20,2017,in theW estern Judicial

DistrictofVirginia,and elsewhere,JERM EL ANTHONY COLEM AN did knowingly and

intentionally com bine,conspire.confederateand agreewith otherpersons,both known and

unknownto the Grand Jury,toknowingly and intentionally distributeand possesswith intentto

distribute amixtureand substancecontairling morethan 500 gram sofcocainehydrochloride,a

 Schedule11controlled substance.

       A11inviolation ofTitle21,UnitedStatesCode,Sedions841(a)(1),(b)(1)(B)and 846.




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A TRUE BILL,this28th day ofJune2017.

                                           S/FOREPERSON
                                               FOREPERSQN

       z.ya- kv x
RICK A .M O U NTCA STLE      '
UNITED STATES ATTORNEY




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